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                                                                                                     FILED
                                                                                                   U. S. DISTRICT COURT
                                                                                               EASTERN DISTRICT ARKANSAS



                      IN THE UNITED STATES DISTRICT COURT                                            OCT 15 2020
                          EASTERN DISTRICT OF ARKANSAS
                                                                                         JAMES W. McCORMACK CLERK
                                CENTRAL DIVISION                                         By:        $               ,
                                                                                                                   DEP CLERK


TONYA ASH-ROBINSON, ADREANNE                                                                     PLAINTIFFS
WALKER, RODNEY LEWIS and AARON
BURTON, Each Individually and on
Behalf of All Others Similarly Situated


vs.                                     No. 4:20-cv-_ll3'f -            J)p~

HOME TO COMMUNITY LIVING, INC.,                                                                DEFENDANTS
and REESHEMA BRITii-his case assigned to Dist(i~t Judge                Mtlf.shAL~
                         and to Magistrate Judge ~V_::o...!:l:ff!p:..:11e,.=:;___ _ __
                   ORIGINAL COMPLAINT-COLLECTIVE ACTION


      COME NOW Plaintiffs Tonya Ash-Robinson, Adreanne walker, Rodney Lewis

and Aaron Burton (collectively "Plaintiffs"), each individually and on behalf of all others

similarly situated, by and through their attorney Josh Sanford of Sanford Law Firm,

PLLC, and for their Original Complaint-Collective Action ("Complaint") against

Defendants Home to Community Living, Inc., and Reeshema Britt (collectively

"Defendant" or "Defendants"), they state and allege as follows:

                            I.        PRELIMINARY STATEMENTS

       1.    This is a collective action brought by Plaintiffs, each individually and on

behalf of all others similarly situated, against Defendants for violation of the overtime

provisions of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (the "FLSA"), and

the overtime provisions of the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201,

et seq. (the "AMWA").

      2.      Plaintiffs seek a declaratory judgment, monetary damages, liquidated

damages, prejudgment interest, and a reasonable attorney's fee and costs as a result of
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Defendants' failure to pay lawful overtime compensation under the FLSA and the

AMWA.

                            II.        JURISDICTION AND VENUE

       3.     The United States District Court for the Eastern District of Arkansas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331

because this suit raises federal questions under the FLSA.

      4.      This Complaint also alleges AMWA violations, which arise out of the same

set of operative facts as the federal cause of action; accordingly, this Court has

supplemental jurisdiction over Plaintiffs' AMWA claims pursuant to 28 U.S.C. § 1367(a).

       5.     The acts complained of herein were committed and had their principal

effect against Plaintiffs within the Central Division of the Eastern District of Arkansas;

therefore, venue is proper within this District pursuant to 28 U.S.C. § 1391.

                                     Ill.        THE PARTIES

       6.     Plaintiff Tonya Ash-Robinson ("Ash-Robinson") is an individual and

resident of Pulaski County.

       7.     Plaintiff Adreanne Walker ("Walker'') is an individual and resident of

Pulaski County.

       8.     Plaintiff Rodney Lewis ("Lewis") is an individual and resident of Pulaski

County.

       9.     Plaintiff Aaron Burton ("Burton") is an individual and resident of Pulaski

County.

       10.    Separate Defendant Home to Community Living, Inc. ("HCL"), is a

domestic, non-profit corporation.

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       11.     HCL also does business as HCL Accessory Fund, HCL Expansion Fund,

HCL Patient's Fund for Social Security Beneficiaries, and Masks4Living.

       12.     HCL's registered agent for service of process is Reeshema T. Britt, at 1

Dover Drive, Little Rock, Arkansas 72204.

       13.     Separate Defendant Reeshema Britt ("Britt") is an individual and a resident

of Arkansas.

       14.     Defendants maintain a website at https://www.h2cl.com/.

                             IV.         FACTUAL ALLEGATIONS

       15.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       16.     Defendants provide supportive living, case management and specialized

medical supplies services to their clients who are disabled and require such assistance.

       17.     Britt is a principal, director, and/or officer of HCL.

       18.     Britt manages and controls the day-to-day operation of HCL, and dictates

the employment policies of HCL, including but not limited to the decision to not pay

Plaintiffs an overtime premium for all hours worked over forty in a workweek.

       19.     Within the three years preceding the filing of this Complaint, Defendants

have continuously employed at least four employees.

       20.     During each of the three years preceding the filing of this Complaint,

Defendants employed at least two individuals who were engaged in interstate

commerce or in the production of goods for interstate commerce, or had employees

handling, selling, or otherwise working on goods or materials that had been moved in or

produced for commerce by any person, such as medical supplies and office equipment.

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       21.     Defendants' annual gross volume of sales made or business done is not

less than $500,000.00 (exclusive of excise taxes at the retail level that are separately

stated) in each of the three years preceding the filing of the Original Complaint.

       22.    At all times relevant to the allegations in this Complaint, Plaintiffs were

"employees" of Defendants as defined by the FLSA, 29 U.S.C. § 203(e), and the

AMWA, Ark. Code Ann. § 11-4-203(3).

       23.    At all times material herein, Defendants are, and have been, an

"employer" of Plaintiffs within the meaning of the FLSA, 29 U.S.C. § 203(d), and the

AMWA, Ark. Code Ann.§ 11-4-203(4).

       24.    Ash-Robinson worked for Defendants as an hourly-paid employee from

approximately October of 2019 until April of 2020.

       25.    Ash-Robinson worked for Defendants as a salaried employee from April of

2020 to September of 2020.

       26.    Walker worked for Defendants as an hourly-paid employee from

November of 2018 until April of 2020.

       27.    Walker worked for Defendants as a salaried employee from April of 2020

until September of 2020.

       28.    Lewis worked for Defendants as an hourly-paid employee from November

of 2019 until approximately April of 2020.

       29.    Lewis worked for Defendants as a salaried employee from approximately

April of 2020 until July of 2020.

       30.    Burton worked for Defendants as an hourly-paid employee from

November of 2019 until April of 2020.

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        31.   Burton worked for Defendants as a salaried employee from April of 2020

until July of 2020.

        32.   At all times while working for Defendants-both when they were paid

hourly and when they were paid a salary-Plaintiffs were employed as Caregivers.

        33.   In addition to Plaintiffs, Defendants also employed other hourly-paid

Caregivers ("Hourly Caregivers").

        34.   In addition to Plaintiffs, Defendants also employed other salaried

Caregivers ("Salaried Caregivers").

        35.   Plaintiffs were primarily responsible for administering care to patients in

their home, including dispensing medication, making meals, bathing patients and driving

patients to appointments.

        36.   Other Caregivers had the same or substantially similar duties.

        37.   There was no difference between the duties of Hourly Caregivers and the

duties of Salaried Caregivers.

        38.   At all times material herein, Plaintiffs and other Hourly and Salaried

Caregivers have been entitled to the rights, protections, and benefits provided under the

FLSA.

        39.   Defendants' central office is located in Little Rock.

        40.   When Plaintiffs were Hourly Caregivers, they regularly worked over forty

hours per week.

        41.   Other Hourly Caregivers also regularly or occasionally worked over forty

hours per week.



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        42.    Plaintiffs and other Hourly Caregivers were not paid for hours worked over

forty each week.

        43.    When      Plaintiffs were       classified    as Salaried        Caregivers,   although

Defendants purported to pay them a salary, if they missed a shift, wages were deducted

from their paychecks for the missed hours.

        44.    As Salaried Caregivers, Plaintiffs did not have the authority to hire or fire

any other employee, nor were their recommendations as to hiring or firing given

particular weight.

        45.    Other Salaried Caregivers did not have the authority to hire or fire any

other employee, nor were their recommendations as to hiring or firing given particular

weight.

        46.    As Salaried Caregivers, Plaintiffs did not exercise judgment or discretion

as to matters of significance.

        47.    Other Salaried Caregivers did not exercise judgment or discretion as to

matters of significance.

        48.    As Salaried Caregivers, Plaintiffs did not manage the enterprise nor a

customarily recognized department or division of the enterprise.

        49.    Other Salaried Caregivers did not manage the enterprise nor a

customarily recognized department or division of the enterprise.

        50.    As Salaried Caregivers, Plaintiffs regularly worked over forty hours in a

week.

        51.    Other Salaried Caregivers regularly or occasionally worked over forty

hours in a week.

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      52.    While Plaintiffs were Salaried Caregivers, Defendants did not pay them an

overtime premium for hours worked over forty in a week.

      53.    Defendants did not pay other Salaried Caregivers an overtime premium

for hours worked over forty in a week.

      54.    Plaintiffs' duties required them to drive patients to various locations, such

as doctor's appointments.

      55.    Ash-Robinson estimates she drove 150 miles per week for Defendants.

      56.    Defendants have not reimbursed Ash-Robinson for mileage or automobile

expenses since January of 2020.

      57.    From November of 2018 until August of 2019, Walker estimates she drove

100 miles per week for Defendants.

      58.    Defendants have not reimbursed Walker for mileage or automobile

expenses incurred from November of 2018 until August of 2019.

      59.    Lewis estimates he drove 5 miles per week for Defendants.

      60.    Defendants have never reimbursed Lewis for mileage or automobile

expenses.

      61.    Burton estimates he drove 100 miles per week for Defendants.

      62.    Defendants have never reimbursed Burton for mileage or automobile

expenses.

      63.    As a result of the automobile expenses incurred by Plaintiffs, they

provided a "kick back" to Defendants per 29 C.F.R. § 531.35, which led to further

overtime pay violations.




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       64.   Ash-Robinson regularly worked hours for which she was not paid.

Specifically, when clients were dropped off early, she had to begin work earlier than she

was scheduled, and occasionally, she was required to go take care of certain clients off

the clock.

       65.   Ash-Robinson estimates that on sixteen separate occasions she was

required to work between two to four hours off the clock, hours which went unrecorded

and uncompensated.

       66.   Walker regularly worked hours for which she was not paid. Specifically,

Walker was required to assist supervisors in taking care of patients outside of her

regular working hours.

       67.   Walker estimates that on eight separate occasions she was required to

work one and one-half hours off the clock, hours which went unrecorded and

uncompensated.

       68.   Lewis regularly worked hours for which he was not paid. Specifically, when

clients were dropped off early, he had to begin work earlier than he was scheduled.

       69.   Lewis estimates that he would work three hours off the clock each day,

three to four days a week for two months, hours which went unrecorded and

uncompensated.

       70.   Burton occasionally worked hours for which he was not paid. Specifically,

when there were emergencies, such as when clients ran away and Burton and other

Caregivers had to go find them, Burton was not paid for those hours worked.




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       71.    Burton estimates that on at least three separate occasions he was

required to work between one to two hours off the clock, hours which went unrecorded

and uncompensated.

       72.    Carolyn Gray, the direct supervisor of all Caregivers, would call or text

Plaintiffs directing them to come in for these off the clock hours and was in charge of

setting all their schedules.

       73.    Additionally, in some instances, Plaintiffs and other Caregivers would write

incident reports detailing what happened during this off the clock time, and Carolyn

Gray was the recipient of all such reports.

       74.    Defendants knew or should have known that Plaintiffs were working

additional hours off the clock for which they were not compensated.

       75.    Defendants knew, or showed reckless disregard for whether, the way they

paid Plaintiffs and other Hourly and Salaried Caregivers violated the FLSA.

       76.    Upon information and belief, prior to October 2, 2020, Defendants became

aware that Ash-Robinson had contacted a lawyer and planned to file the instant lawsuit.

       77.    When Ash-Robinson attempted to pick up one of her paychecks on

October 2, 2020, her requests for her paycheck were initially ignored and then outright

denied by Britt.

       78.    On the same occasion, Ash-Robinson overheard Britt complaining to

another employee about Ash-Robinson. Britt used abusive and offensive language in

reference to Ash-Robinson. Ash-Robinson was subsequently ordered to leave the office

and not return.




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       79.    Though Ash-Robinson has since received the paycheck she requested

from Defendants, Defendants have not scheduled Ash-Robinson for any work or

communicated with Ash-Robinson regarding scheduling her for work since September

23, 2020.

       80.    Upon information and belief, Defendants terminated Ash-Robinson's

employment in retaliation for asserting her rights under the FLSA.

                  V.         REPRESENTATIVE ACTION ALLEGATIONS

       81.    Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully incorporated in this section.

       82.    Plaintiffs bring this claim for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all

persons similarly situated as hourly employees who were, are, or will be employed by

Defendants within the applicable statute of limitations period, who are entitled to

payment of the following types of damages:

       A.     Overtime premiums for all hours worked over forty (40) hours in any week;

       B.     Liquidated damages; and

       C.     Attorneys' fees and costs.

       83.    Plaintiffs propose the following classes under the FLSA:

                   All hourly-paid Caregivers who worked more than
                  forty hours in any week within the last three years.

                     All salaried Caregivers who worked more than
                    forty hours in a week within the last three years.

       84.    In conformity with the requirements of FLSA Section 16(b), Plaintiffs have

filed or will soon file a written Consent to Join this lawsuit.

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         85.   The relevant time period dates back three years from the date on which

Plaintiffs' Original Complaint-Collective Action was filed herein and continues forward

through the date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

below.

         86.   The members of the proposed hourly FLSA class are similarly situated in

that they share these traits:

         A.    They were classified by Defendants as nonexempt from the overtime

requirements of the FLSA;

         8.    They were paid an hourly wage;

         C.    They were subject to Defendants' common policy of failing to pay an

overtime premium for all hours worked over forty (40) per week; and

         D.    They had the same or substantially similar job duties, requirements and

pay provisions.

         87.   The members of the proposed salaried FLSA class are similarly situated in

that they share these traits:

         A.    They were misclassified by Defendants as exempt from the overtime

requirements of the FLSA;

         8.    They were paid a salary or Defendants purported to pay them a salary;

         C.    They were subject to Defendants' common policy of failing to pay an

overtime premium for all hours worked over forty (40) per week; and

         D.    They had the same or substantially similar job duties, requirements and

pay provisions.




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       88.    Plaintiffs are unable to state the exact number in each class but believes

that each class exceeds fifteen (15) persons.

       89.    Defendants can readily identify the members of the class, who are a

certain portion of the current and former employees of Defendants.

       90.    The names and physical and mailing addresses of the probable FLSA

collective action plaintiffs are available from Defendants.

       91.    The email addresses of many of the probable FLSA collective action

plaintiffs are available from Defendant.

                            VI.         FIRST CLAIM FOR RELIEF
                          (Individual Claims for FLSA Violations)

       92.    Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

       93.    Plaintiffs assert this claim for damages and declaratory relief pursuant to

the FLSA, 29 U.S.C. § 201, et seq.

       94.    At all relevant times, Defendants have been, and continue to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

       95.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half (1.5) times their regular wages for all hours worked over

forty (40) in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

       96.    While Plaintiffs were Hourly Caregivers, Defendants classified Plaintiffs as

non-exempt from the requirements of the FLSA.


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        97.      While Plaintiffs were Salaried Caregivers, Defendants misclassified

Plaintiffs as exempt from the requirements of the FLSA.

        98.      Defendants failed to pay Plaintiffs one and one-half times their regular rate

for all hours worked in excess of forty hours per week.

        99.      Defendants knew or should have known that their actions violated the

FLSA.

        100.     Defendants' conduct and practices, as described above, were willful.

        101.     By reason of the unlawful acts alleged herein, Defendants are liable to

Plaintiffs for monetary damages, liquidated damages and costs, including reasonable

attorney's fees provided by the FLSA for all violations which occurred beginning at least

three (3) years preceding the filing of Plaintiffs' initial complaint, plus periods of

equitable tolling.

        102.     Defendants have not acted in good faith nor with reasonable grounds to

believe their actions and omissions were not a violation of the FLSA, and, as a result

thereof, Plaintiffs are entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid overtime premium pay described above pursuant to

Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

        103.     Alternatively, should the Court find that Defendants acted in good faith in

failing to pay Plaintiffs as provided by the FLSA, Plaintiffs are entitled to an award of

prejudgment interest at the applicable legal rate.

                           VII.      SECOND CLAIM FOR RELIEF
              (Collective Action Claim for FLSA Violation-Hourly Caregivers)

        104.     Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.
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        105.    Plaintiffs assert this claim for damages and declaratory relief on behalf of

all similarly situated Hourly Caregivers pursuant to the FLSA, 29 U.S.C. § 201, et seq.

        106.    At all relevant times, Defendants have been, and continue to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

        107.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half (1.5) times their regular wages for all hours worked over

forty (40) in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

        108.    Defendants classified Plaintiffs and other similarly situated Hourly

Caregivers as non-exempt from the overtime provisions of the FLSA.

        109.    Defendants failed to pay Plaintiffs and similarly situated Hourly Caregivers

one and one-half times their regular rate for all hours worked in excess of forty hours

per week.

        110.    Defendants deprived Plaintiffs and similarly situated Hourly Caregivers of

compensation for all of the hours worked over forty (40) per week, in violation of the

FLSA.

        111 .   Defendants knew or should have known that their actions violated the

FLSA.

        112.    Defendants' conduct, as described above, has been willful.

        113.    By reason of the unlawful acts alleged herein, Defendants are liable to

Plaintiffs and all similarly situated Hourly Caregivers for monetary damages, liquidated

damages and costs, including reasonable attorney's fees provided by the FLSA for all

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violations which occurred beginning at least three (3) years preceding the filing of

Plaintiffs' initial complaint, plus periods of equitable tolling.

       114.      Defendants have not acted in good faith nor with reasonable grounds to

believe their actions and omissions were not a violation of the FLSA, and, as a result

thereof, Plaintiffs and similarly situated Hourly Caregivers are entitled to recover an

award of liquidated damages in an amount equal to the amount of unpaid overtime

premium pay described above pursuant to Section 16(b) of the FLSA, 29 U.S.C. §

216(b).

       115.      Alternatively, should the Court find that Defendants acted in good faith in

failing to pay Plaintiffs and the collective members as provided by the FLSA, Plaintiffs

are entitled to an award of prejudgment interest at the applicable legal rate.

                          VIII.     THIRD CLAIM FOR RELIEF
             (Collective Action Claim for FLSA Violation-Salaried Caregivers)

       116.      Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

          117.   Plaintiffs assert this claim for damages and declaratory relief on behalf of

all similarly situated Salaried Caregivers pursuant to the FLSA, 29 U.S.C. § 201, et seq.

          118.   At all relevant times, Defendants have been, and continue to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

          119.   29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half (1.5) times their regular wages for all hours worked over

forty (40) in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.
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        120.   Defendants misclassified Plaintiffs and other similarly situated Salaried

Caregivers as exempt from the overtime provisions of the FLSA.

        121.   Defendants failed to pay Plaintiffs and similarly situated Salaried

Caregivers one and one-half times their regular rate for all hours worked in excess of

forty hours per week.

        122.   Defendants deprived Plaintiffs and similarly situated Salaried Caregivers

of compensation for all of the hours worked over forty (40) per week, in violation of the

FLSA.

        123.   Defendants knew or should have known that their actions violated the

FLSA.

        124.   Defendants' conduct, as described above, has been willful.

        125.   By reason of the unlawful acts alleged herein, Defendants are liable to

Plaintiffs and all similarly situated Salaried Caregivers for monetary damages, liquidated

damages and costs, including reasonable attorney's fees provided by the FLSA for all

violations which occurred beginning at least three (3) years preceding the filing of

Plaintiffs' initial complaint, plus periods of equitable tolling.

        126.   Defendants have not acted in good faith nor with reasonable grounds to

believe their actions and omissions were not a violation of the FLSA, and, as a result

thereof, Plaintiffs and similarly situated Salaried Caregivers are entitled to recover an

award of liquidated damages in an amount equal to the amount of unpaid overtime

premium pay described above pursuant to Section 16(b) of the FLSA, 29 U.S.C. §

216(b).




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       127.   Alternatively, should the Court find that Defendants acted in good faith in

failing to pay Plaintiffs and the collective members as provided by the FLSA, Plaintiffs

are entitled to an award of prejudgment interest at the applicable legal rate.

                           IX.        FOURTH CLAIM FOR RELIEF
                          (Individual Claims for AMWA Violation)

       128.   Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

       129.   Plaintiffs assert this claim for damages and declaratory relief pursuant to

the AMWA, Ark. Code Ann.§§ 11-4-201, et seq.

       130.   At all relevant times, Defendants were Plaintiffs' "employer'' within the

meaning of the AMWA, Ark. Code Ann. § 11-4-203(4).

       131.   Sections 210 and 211 of the AMWA require employers to pay all

employees a minimum wage for all hours worked, and to pay one and one-half times

regular wages for all hours worked over forty hours in a week, unless an employee

meets the exemption requirements of 29 U.S.C. § 213 and accompanying Department

of Labor regulations.

       132.   While Plaintiffs were Hourly Caregivers, Defendants classified Plaintiffs as

non-exempt from the requirements of AMWA.

       133.   While Plaintiffs were Salaried Caregivers, Defendants misclassified

Plaintiffs as exempt from the requirements of AMWA.

       134.   Defendants failed to pay Plaintiffs overtime wages as required under the

AMWA for all hours that Plaintiffs worked in excess of forty (40) per week.

       135.   Defendants knew or should have known that its practices violated the

AMWA.
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       136.   Defendants' conduct and practices, as described above, were willful,

intentional, unreasonable, arbitrary, and in bad faith.

       137.   By reason of the unlawful acts alleged herein, Defendants are liable to

Plaintiffs for, and Plaintiffs seek, monetary damages, liquidated damages, prejudgment

interest, and costs, including reasonable attorneys' fees as provided by the AMWA.



                             X.         FIFTH CLAIM FOR RELIEF
                    (Plaintiff Ash-Robinson's Claim for Retaliation)

       138.   Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

       139.   Defendants' termination of Ash-Robinson was a direct and willful violation

of the FLSA's anti-retaliation provision at subsection 215(a)(3), which forbids employers

from firing or otherwise taking retaliatory action against individuals who have asserted

their rights under the FLSA.

       140.     Pursuant to the FLSA, employers may not "discharge or in any other

manner discriminate against any employee because such employee has filed any

complaint or instituted or caused to be instituted any proceeding under or related to [the

FLSA], or has testified or is about to testify in any such proceeding, or has served or is

about to serve on an industry committee." 29 U.S.C. § 215(a)(3).

       141.   Ash-Robinson engaged in protected activity by initiating the filing of an

FLSA lawsuit over the improper ways in which she was paid.

       142.     Defendants fired or constructively fired Ash-Robinson in an act of

retaliation against Ash-Robinson solely due to Ash-Robinson's actions in initiating this

FLSA lawsuit.
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       143.    Ash-Robinson should be compensated for lost income due to Defendants'

unlawful retaliation, and should be compensated for any pain, suffering, or loss of face

suffered as a result of Defendants' actions and reinstated to her former employment.

       144.    Further, punitive damages should be assessed against Defendants for

their blatant and willful actions to retaliate against Ash-Robinson for her assertion of her

rights under the FLSA in direct and intentional violation of the anti-retaliation provisions

of the FLSA.

       145.    Any employees of Defendants who participated in the retaliatory acts

against Ash-Robinson should be subject to criminal sanction pursuant to 29 U.S.C. §

216(a).

                                XI.        PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiffs Tonya Ash-Robinson, Adreanne

Walker, Rodney Lewis and Aaron Burton, each individually and on behalf of all others

similarly situated, respectfully pray that Defendants be summoned to appear and to

answer this Complaint and for declaratory relief and damages as follows:

       A.      Declaratory judgment that Defendants' practices alleged in this Complaint

violate the FLSA, the AMWA, and their related regulations;

       B.      Certification of two collectives under Section 216 of the FLSA of all

individuals similarly situated, as further defined in any motion for the same;

       C.      Judgment for damages suffered by Plaintiffs and all others similarly

situated for all unpaid overtime compensation under the FLSA, the AMWA and their

related regulations;



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       D.     Judgment for liquidated damages owed to Plaintiffs and all others similarly

situated pursuant to the FLSA, the AMWA, and their related regulations;

       E.     Judgment for compensatory and punitive damages and attorneys' fees

resulting from Defendants' willful violation of the FLSA's retaliation provision;

       F.     An order directing Defendants to pay Plaintiffs and all others similarly

situated prejudgment interest, a reasonable attorney's fee and all costs connected with

this action; and

       G.     Such other and further relief as this Court may deem just and proper.

                                                         Respectfully submitted,

                                                         TONYA ASH-ROBINSON,
                                                         ADREANNE WALKER, RODNEY
                                                         LEWIS and AARON BURTON,
                                                         Each Individually and on Behalf
                                                         of All Others Similarly Situated,
                                                         PLAINTIFFS

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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION


 TONYA ASH-ROBINSON, ADREANNE                                              PLAINTIFFS
 WALKER, RODNEY LEWIS and AARON
 BURTON, Each Individually and on
 Behalf of All Others Similarly Situated


vs.                                 No. 4:20-cv-


 HOME TO COMMUNITY LIVING, INC.,                                         DEFENDANTS
 and REESHEMA BRITT


                     CONSENT TO JOIN COLLECTIVE ACTION


        I was employed as an hourly Caregiver for Home to Community Living, Inc., and
Reeshema Britt within the past three (3) years. I understand this lawsuit is being brought
under the Fair Labor Standards Act for unpaid wages. I consent to becoming a party-
plaintiff in this lawsuit, to be represented by Sanford Law Firm, PLLC, and to be bound
by any settlement of this action or adjudication by the Court.




                                                TONYA ASH-ROBINSON
                                                October 15, 2020




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                                                RODNEY LEWIS
                                                October 15, 2020




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                                                AARON BURTON
                                                October 15, 2020




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                                                AARON BURTON
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